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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
Case No. 24-cr-20668
Vs. Hon. MATTHEW F. LEITMAN
DOVID AKIVA SHENKMAN,
Defendant.

TARA HINDELANG

DOJ-USAO

211 W. Fort Street, Ste 2001
Detroit, Ml 48226

313-410-5177

Email: tara.hindelang@usdoj.gov

SANFORD A. SCHULMAN
Attorney for Defendant:

DOVID AKIVA SHENKMAN
500 Griswold Street, Suite 2340
Detroit, Michigan 48226
(313) 963-4740
saschulman@comcast.net

/

EXHIBIT ONE IN SUPPORT OF
DEFENDANT, DOVID AKIVA SHENKMAN’s
RENEWED MOTION TO SET ASIDE ORDER OF DETENTION
AND REQUEST FOR HEARING

DETAILED PROPOSED PLAN FOR BOND

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Arnold Shenkman, Father

Lives in 55+ community called Fairways at Lake Ridge

Clubhouse includes gym and pool

The Fairways at Lake Ridge active adult community is a mix of 90 attached
courtyard homes and approximately another thousand single-family homes.

The community is situated on 360 acres of tree-lined streets, winding roads, and
walking paths
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Map of Fairways

Red marker is Arnold

Shenkman’s home.

Lara, Officiant o

Masean. ee

o Fairways at Lake Ridge
Management Office

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Map dsta@2025 United States Terms Privacy Send Product Feedbact
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Children’s playground closest to 8 Winding River Rd.

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9
D

3) Send directions to your phone

3

O09 AB KF & 4 x
Best Smin 34min 8min

8 Winding River Rd, Lakewood, NJ 08707

2

| Chesterfield Commons Playground, Lake

Add destination

Leave now + Options

©) Copy link

via Cross St 5 min

Fastest route T.6 miles
4s, This route has restricted usage or Private
roads,

Details

via Massachusetts Ave 5 min
2.1 miles
via Fairways Blvd and Cross St 34 min

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private roads.

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Fairways at Lake Ridce
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Closest city park to 8 winding

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40min 10min

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Communication and Internet

Akiva’s father, Arnold, will not have any internet in the house and all devices,

besides for his personal cell phone will be removed. Arnold’s personal cell phone
will be locked.

Arnold’s cell phone will be brought to a local internet-safety organization called

TAG, who will ensure that the device will not be able to access any explicit
websites.

LINK: tac

Akiva will have a cellphone that is a talk-only cell phone without any text
messaging or camera ability. See next slide.
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Akiva’s cellphone

Akiva will receive a ec
Cellphone similar to this.
One that has only

talk capabilities with no
option for texting or

Internet connection.

HOME

Home Dumb Phones TCL FLIP

PRODUCTS

APP BUNDLES FAQS ABOUT CONTACT ae ae

Kosher Cell inc

TCL FLIP

Wek eb 7 reviews
$99.99

Shipping calculated at checkout.

Quantity

er; Carrier Locked (VZ network Kashrus Level: Talk Only - No media
W

Talk Only - No media -
Carrier Locked (V2 network with or

Device Protection:

Choose one 7

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Picture Arnold’s community

Pictures of gated community,
Pictures of both entrances to Arnold’s

Home and kitchen eat-in area.

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Daily Schedule: Option #1 Complete Home Confinement:

7:00: Wake Up, Pray

8:00: Learn Daf Yomi with chavruta

8:45-9:30 Cook breakfast, eat breakfast, clean up breakfast

9:30-11:00 DIY Building/Electrical/Craft project

11:00-12:00 Chavruta hebrew learning skills

12:00-1:00 Lunch prep, cook, eat lunch, clean up lunch

1:00-1:30 Personal time

1:30-2:00 Afternoon prayers

2:00-3:30 DIY Building/Electrical/Craft project

3:30-4:30 Personal time: i.e., listen to music or radio on Cassette or CD player (no wi-fi
Capabilities), board games or card games with father and/or mother and/or visitor, plan

tomorrow’s meals, do laundry, change linens, vacuum carpet, handyman work around house.
THURSDAY AFTERNOON COOK FOR SHABBOS

4:30-6:00 Prep dinner, cook dinner, eat dinner, cleanup

6:30-7:30 Phone time, reading

7:30-8:30 Learning with Chavruta in-home or over phone - Rabbi Chaim Shlomo Rothenberg
8:30-9:00 Nighttime prayer in-home

9:00-9:30 Personal time: i.e., see above

THURSDAY NIGHTS: COOK FOR SHABBOS

9:30-10:00 Shower and Read in bed

10:00 Lights out
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Daily Schedule: Option #2 with limited, supervised travel outside of Arnold’s home
and ankle bracelet (GPS Tracker):

6:00: Wake Up, Pray and learn Daf Yomi in locals
NJ (5 miles up the rode, within the adult community)

ynagogue in 55+ community Bais Torah Utefilah of Fairways 12 Schoolhouse Ln, Lakewood,
7:15-7:40 Breakfast, Lunch prep, and cleanup
7:40-8:00 Driven to work by Dvora Shenkman (mother)

8:00 AM - 5:00 PM Work at HVAC Depot. (Afternoon prayers are said at work. No leaving) - See letter of employment

5:00-5:20 Picked up by Arnold or Dvora and brought back to Arnold’s home
5:20-6:30 Dinner Prep, Cook, Eat, and Cleanup

6:30-7:30 Phone time, reading, handy work around the house, some sort of craft, wood, DIY project in the house.

7:30-8:30 Learning with Chavruta in-home or over phone - Chaim Shlomo Rothenberg 718-926-8953

8:30-9:30 Personal time, listen to music or radio on cassette or CD player (no wi-fi)

capabilities, board games or card games with father
and/or mother and/or visitor.

9:30-10:00 Read in bed
10:00 Lights out
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If the judge approves,

Akiva has been offered a
position in the HVAC Depot.
Owner name is Yehuda Zirkin
132-426-3428

It is located in a warehouse in

an industrial neighborhood in

Lakewood, NuJ.

ESry HVAC DEPOT INC
AE 785 Vassar Ave

Phone 732-426-3428
Lakewood . NJ 08701

HVAC

CeErodT

To Whom it May Concern,

Akiva D. Shenkman has been accepted for em
785 Vasser Avenue Lakewood NJ 08701.

His hours of employment will be between 8 AM and 5PM
His hours will be flexible in case of any appointments

ployment at our technical support department located at

Monday through Thursday, Friday 8-12,

Vekuda 2inkin
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Map between the home of Arnold

Shenkman and HVAC Depot

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© 8 Winding River Rd. Lakewood, NJ 08701
@ 785 Vassar Ave, Lakewood, NJ 08701

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Jersey Shore BlueClaws 0 WalmartiSupercenter @-
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Evergreen Kosher Market

WHITESVILLE 6

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i | Castco Wholesale @)_ Township
8 Winding River Road a Windward
(9) a Beach Park
Ts Leisure viLlace
Gun WEST fo 4 f Map data ©2025 Google
|1 min (4.2 mi) via Chestnut St and New Hampshire Ave %
Directions

(4.1 mi} via Oak St

12 min (4.5 mi) via Pine St
